
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the State of NC on the 30th of March 2016 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Defendant, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 9th of June 2016."
Upon consideration of the petition filed by State of NC on the 30th of March 2016 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 9th of June 2016."
Upon consideration of the petition filed on the 30th of March 2016 by State of NC in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following *22order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 9th of June 2016."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15 (g)(2).
WITNESS my hand and official seal of the Supreme Court of North Carolina, this the 10th of June 2016.
